           Case: 22-12088    Doc: 56     Filed: 10/12/22   Page: 1 of 58




                   UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE:                                       )
                                             )
KEYSTONE GAS CORPORATION,                    )      Case No. 22-12088-SAH
                                             )
                  Debtor.                    )

             DECLARATION UNDER PENALTY OF PERJURY FOR
               NON-INDIVIDUAL DEBTORS, AND SCHEDULES


                                       /s/ Courtney D. Powell
                                       Courtney D. Powell, OBA No. 19444


SPENCER FANE LLP
9400 N. Broadway Extension, Suite 600
Oklahoma City, Oklahoma 73114
Telephone: (405) 844-9900
Facsimile: (405) 844-9958
Email: cpowell@spencerfane.com
PROPOSED ATTORNEY FOR DEBTOR
                               Case: 22-12088                Doc: 56          Filed: 10/12/22            Page: 2 of 58




Fill in this information to identify the case:
Debtor name        Keystone Gas Corporation

United States Bankruptcy Court for the:     WESTERN DISTRICT OF OKLAHOMA

Case number (if known)     22-12088
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

           --
WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

      B          Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      B          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      B          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      B          Schedule H: Codebtors (Official Form 206H)
      B          Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true amtfc^tTsctj^-x     _   , •

       Executed on       October 12, 2022                X
                                                                      1
                                                                          —*
                                                                          &
                                                             Signature of individual signing orfbehalf of debtor

                                                             Richard Allen Sellers, III
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-lndividual Debtors
                                          Case: 22-12088                              Doc: 56                  Filed: 10/12/22                           Page: 3 of 58

Fill in this information to identify the case:

Debtor name           Keystone Gas Corporation

United States Bankruptcy Court for the:                      WESTERN DISTRICT OF OKLAHOMA

Case number (if known)              22-12088-SAH
                                                                                                                                                                                 o Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $       5,959,077.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,241,054.32

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $       7,200,131.32


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         678,221.68


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $         281,209.91

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         360,939.33


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $          1,320,370.92




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
                                Case: 22-12088               Doc: 56         Filed: 10/12/22                Page: 4 of 58

Fill in this information to identify the case:

Debtor name          Keystone Gas Corporation

United States Bankruptcy Court for the:      WESTERN DISTRICT OF OKLAHOMA

Case number (if known)        22-12088-SAH
                                                                                                                                o Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     o No. Go to Part 2.
     n Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     RCB Bank                                          Checking                              2300                                        $253.32



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $253.32
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     o No. Go to Part 3.
     n Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Gross Production Tax Bond No. S257722, Oklahoma Tax Commission                                                                $25,000.00



                    Bureau of Indian Affairs Performance Bond No. G07-2944, U.S. Department of the
           7.2.     Interior                                                                                                                       $1,440.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                     page 1
                                 Case: 22-12088                Doc: 56          Filed: 10/12/22          Page: 5 of 58

Debtor            Keystone Gas Corporation                                                 Case number (If known) 22-12088-SAH
                  Name




           7.3.     Administrative Appeal Bond No. CBB0047341, U.S. Department of the Interior                                     $15,000.00




           7.4.     Retainer to Spencer Fane LLP                                                                                   $29,502.40



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

9.         Total of Part 2.                                                                                                      $70,942.40
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

     o No. Go to Part 4.
     n Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                     10,000.00      -                                 0.00 = ....              $10,000.00
                                         face amount                         doubtful or uncollectible accounts




           11b. Over 90 days old:                       109,000.00      -                         54,500.00 =....                  $54,500.00
                                         face amount                         doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                      $64,500.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

     n No.   Go to Part 5.
     o Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     n No.   Go to Part 6.
     o Yes Fill in the information below.

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     n No.   Go to Part 7.
     o Yes Fill in the information below.

Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     n No.   Go to Part 8.

Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                page 2
                             Case: 22-12088              Doc: 56       Filed: 10/12/22          Page: 6 of 58

Debtor       Keystone Gas Corporation                                                 Case number (If known) 22-12088-SAH
             Name


   o Yes Fill in the information below.

 Part 8:    Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   o No. Go to Part 9.
   n Yes Fill in the information below.
         General description                                       Net book value of        Valuation method used    Current value of
         Include year, make, model, and identification numbers     debtor's interest        for current value        debtor's interest
         (i.e., VIN, HIN, or N-number)                             (Where available)

47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

         47.1.   2008 GMC Sierra (5464)                                      $6,325.00      NADA Value                          $6,325.00


         47.2.   2012 Chevy Silverado (9965)                                $14,500.00      NADA Value                         $14,500.00


         47.3.   2005 Freightliner Water Truck (8026)                       $50,000.00      FMV                                $50,000.00


         47.4.   2018 Chevy Silverado (7882)                                $27,200.00      NADA Value                         $27,200.00


         47.5.   2018 Chevy Silverado (5721)                                $27,200.00      NADA Value                         $27,200.00


         47.6.   2017 Chevy Silverado (2791)                                $26,050.00      NADA Value                         $26,050.00


         47.7.   2005 Chevy Silverado (1165)                                 $1,200.00      NADA Value                          $1,200.00


         47.8.   1998 Ford F800 (6835)                                      $15,000.00      NADA Value                         $15,000.00


         47.9.   2009 Ford F450 (2759)                                      $26,725.00      NADA Value                         $26,725.00


         47.10
         .     2011 Chevy Silverado (7200)                                  $12,600.00      NADA Value                         $12,600.00


         47.11
         .     2011 Chevy Silverado (9227)                                  $12,600.00      NADA Value                         $12,600.00


         47.12
         .     1999 Ford F350 (6792)                                        $15,500.00      NADA Value                         $15,500.00


         47.13
         .     2000 Ford F350 (0456)                                        $15,600.00      NADA Value                         $15,600.00


         47.14
         .     2006 Chevy Silverado (6582)                                   $2,125.00      NADA Value                          $2,125.00


         47.15
         .     2007 Ford F450 (7000)                                        $15,525.00      NADA Value                         $15,525.00



Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                   page 3
                            Case: 22-12088               Doc: 56         Filed: 10/12/22            Page: 7 of 58

Debtor      Keystone Gas Corporation                                                  Case number (If known) 22-12088-SAH
            Name

         47.16
         .     2007 Chevy Silverado (4914)                                     $3,900.00      NADA Value                      $3,900.00


         47.17
         .     1985 GMC TopKick (8011)                                        $10,000.00      NADA Value                     $10,000.00


         47.18
         .     2007 GMC Sierra (7152)                                          $6,375.00      NADA Value                      $6,375.00


         47.19
         .     2012 Dodge 3500 (1871)                                         $21,475.00      NADA Value                     $21,475.00


         47.20
         .     2003 Chevy Silverado (3905)                                       $225.00      NADA Value                       $225.00


         47.21
         .     2009 Chevrolet Silverado (2336)                                 $7,950.00      NADA Value                      $7,950.00


         47.22
         .     2011 Chevrolet Silverado 2500 (8052)                           $12,600.00      NADA Value                     $12,600.00


         47.23 CAT 420 F Backhoe, Serial #
         .     CAT0420FPSKR04246                                              $50,000.00      FMV                            $50,000.00


         47.24
         .     Gooseneck Trailer (Big Tex) (3030)                             $15,000.00      FMV                            $15,000.00


         47.25
         .     Scrap Vacuum Truck - Inoperable                                 $2,000.00      FMV                             $2,000.00


         47.26 Older wrecked Chevy Silverado (flat)
         .     truck                                                             $500.00      FMV                              $500.00


         47.27 Older Chevy Silverado (needs an
         .     engine)                                                         $1,500.00      FMV                             $1,500.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Miscellaneous pipeline parts and equipment                            $5,000.00      FMV                             $5,000.00


         Miscellaneous Engines                                                $10,000.00      FMV                            $10,000.00


         Miscellaneous compressors and core for
         Waukesha V12                                                       $100,000.00       FMV                           $100,000.00



Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                page 4
                              Case: 22-12088                Doc: 56       Filed: 10/12/22         Page: 8 of 58

Debtor       Keystone Gas Corporation                                                 Case number (If known) 22-12088-SAH
             Name


          Miscellaneous spare parts, pipeline, and
          welding equipment at GiGi Shop                                      $10,000.00     FMV                                  $10,000.00




51.       Total of Part 8.                                                                                                   $524,675.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
          n No
          o Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
          n No
          o Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

   o No. Go to Part 10.
   n Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and            Net book value of      Valuation method used     Current value of
          property                              extent of             debtor's interest      for current value         debtor's interest
          Include street address or other       debtor's interest     (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Cat G342 200 HP
                  Engine w/
                  Compressor #5268              Compressor
                  #71B03427                     Station - HJD                $100,000.00     FMV                                 $100,000.00


          55.2.   WAU-L5788GRU 800              Compressor
                  HP Engine w/                  Station -
                  Compressor #46056             Enterprise 1                 $500,000.00     FMV                                 $500,000.00


          55.3.   Cooper GMXD6 400              Compressor
                  HP Engine w/ Integral         Station -
                  Compressor (43960)            Enterprise 2                  $50,000.00     FMV                                  $50,000.00


          55.4.                                 Compressor
                  Gas Conditioning              Station -
                  Plant                         Enterprise 3                 $250,000.00     FMV                                 $250,000.00


          55.5.   G379A Cat 3300
                  Engine w Knight               Compressor
                  Compressor                    Station -
                  #72F00989                     Markham                       $75,000.00     FMV                                  $75,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 5
                          Case: 22-12088        Doc: 56      Filed: 10/12/22        Page: 9 of 58

Debtor      Keystone Gas Corporation                                     Case number (If known) 22-12088-SAH
            Name

         55.6.   WAU-L7042GSI 1200
                 HP Engine
                 w/IR-RDS-4#YRS922#    Compressor
                 307948                Station - GiGi           $700,000.00     FMV                            $700,000.00


         55.7.   Cummins
                 S#25124932 w/190
                 HP Engine w/          Compressor
                 Vane#4004-71519-1     Station - Jones          $100,000.00     FMV                            $100,000.00


         55.8.   Cummins
                 S#11362882 w/190
                 HP Engine             Compressor
                 w/Vane#4004-77518-7   Station - Dacon          $100,000.00     FMV                            $100,000.00


         55.9.   Cooper Type 80 HP     Compressor
                 Engine w              Station -
                 Compressor #507       Shamrock                  $25,000.00     FMV                             $25,000.00


         55.10 Cummins S#2512750
         .     w/190 HP Engine         Compressor
                 w/Vane                Station - Kolvin
                 #4004-77337-1         1                        $100,000.00     FMV                            $100,000.00


         55.11 Cummins
         .     S#25142002 w/190        Compressor
                 HP Engine             Station - Kolvin
                 w/Vane#4004-77517-1   2                        $100,000.00     FMV                            $100,000.00


         55.12 WAU-F817GU 130 HP
         .     Engine w/IR-ESH         Compressor
                 Compressor            Station -
                 #C-11591/2            Glencoe 1                $150,000.00     FMV                            $150,000.00


         55.13 WAU-F817GU 130 HP       Compressor
         .     Engine w/IR-ESH         Station -
                 Compressor #132805    Glencoe 2                $150,000.00                                    $150,000.00


         55.14 WAU-F817GU 130 HP       Compressor
         .     Engine w/IR-ESH         Station -
                 Compressor #266458    Glencoe 3                $150,000.00     FMV                            $150,000.00


         55.15 WAU-F1197GU 195         Compressor
         .     HP Engine w/IR-ESH      Station -
                 Compressor #221709    Ingalls 1                $175,000.00     FMV                            $175,000.00


         55.16 WAU-F1197GU 195         Compressor
         .     HP Engine w/IR-ESH      Station -
                 Compressor #386778    Ingalls 2                $175,000.00     FMV                            $175,000.00




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property                           page 6
                          Case: 22-12088       Doc: 56      Filed: 10/12/22        Page: 10 of 58

Debtor      Keystone Gas Corporation                                     Case number (If known) 22-12088-SAH
            Name

         55.17 WAU-F1197GU 195         Compressor
         .     HP Engine w/IR-ESH      Station -
               Compressor #109948      Ingalls 3                $175,000.00     FMV                            $175,000.00


         55.18 WAU-L5790GU
         .     Engine w/Comp           Compressor
               #OF6SU2                 Station -
               &Dehyd.#L-97072N        Ingalls 4                $500,000.00     FMV                            $500,000.00


         55.19 Arrow A54 (VRG330)      Compressor
         .     Engine w/KHB Comp       Station -
               #5153 #P-2455           Empire 1                  $35,000.00     FMV                             $35,000.00


         55.20                         Compressor
         .     Waukesha (VRG330)       Station -
               Engine #35444340        Empire 2                  $35,000.00     FMV                             $35,000.00


         55.21 Plant 1 Gas             Compressor
         .     Conditioning Plant      Station -
               Built Exterran          Mulhall Plant 1          $100,000.00     FMV                            $100,000.00


         55.22 Plant 2 Gas             Compressor
         .     Conditioning Plant      Station -
               Built Exterran          Mulhall Plant 2          $100,000.00     FMV                            $100,000.00


         55.23 Waukesha F1197          Compressor
         .     w/Joy Compressor        Station - Avery
               #289632                 1                         $80,000.00     FMV                             $80,000.00


         55.24 Waukesha F817           Compressor
         .     w/GD Compressor #       Station - Avery
               B14-5507                2                         $25,000.00     FMV                             $25,000.00


         55.25 WAU-F1197GU
         .     Engine w/IR-ESH         Compressor
               Comp                    Station -
               #11CW321#366549         Pawnee                   $175,000.00     FMV                            $175,000.00


         55.26 WAU-L7042GU 889         Compressor
         .     HP Engine w/WB72        Station -
               Joy Comp #205520        Mulhall 1                $500,000.00     FMV                            $500,000.00


         55.27 WAU-L5790GU 800
         .     HP Engine               Compressor
               w/IR-RDS2               Station -
               Comp#YRX2256            Mulhall 2                $500,000.00     FMV                            $500,000.00


         55.28
         .     3212 N. Norfolk Road    Land
               Cushing, OK 74023       Improvements              $22,104.00     Market Value                    $22,104.00




Official Form 206A/B                     Schedule A/B Assets - Real and Personal Property                           page 7
                              Case: 22-12088                Doc: 56        Filed: 10/12/22               Page: 11 of 58

Debtor        Keystone Gas Corporation                                                    Case number (If known) 22-12088-SAH
              Name

           55.29 48061 W. 51st Street
           .     S
                   Jennings, OK 74038
                   "Buckeye"                     Land                             $49,251.00          Market Value                      $49,251.00


           55.30 Pipeline - See
           .     attached Exhibit
                   55.30                         Pipeline                          Unknown                                               Unknown


           55.31 Pipeline Rights of
           .     Way and Easements -
                   See attached Exhibit
                   55.31                         Rights of Way                  $514,642.00           Market Value                     $514,642.00


           55.32 E Lone Chimney                  Land
           .     Road                            Improvements
                   Payne County, OK              - Glencoe                        $21,560.00          Market Value                      $21,560.00


           55.33 S Council Creek                 Land
           .     Road                            Improvements
                   Payne County, OK              - Ingalls                        $26,520.00          Market Value                      $26,520.00


           55.34 12 Oil and Gas
           .     Leases - All near
                   Avery, OK in Lincoln          Oil and Gas
                   County                        Leases                         $200,000.00                                            $200,000.00




56.        Total of Part 9.                                                                                                       $5,959,077.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
           n No
           o Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
           n No
           o Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   o No. Go to Part 11.
   n Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 8
                               Case: 22-12088               Doc: 56         Filed: 10/12/22            Page: 12 of 58

Debtor        Keystone Gas Corporation                                                     Case number (If known) 22-12088-SAH
              Name


           Priority One designation with Oklahoma
           Corporations Commission                                                 Unknown                                            Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Blue Flame Gas Company - 100% Ownership                                    $706.95      Net Book Value                       $706.95



65.        Goodwill

66.        Total of Part 10.                                                                                                          $706.95
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
           n No
           o Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
           n No
           o Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
           n No
           o Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   o No. Go to Part 12.
   n Yes Fill in the information below.
                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Causes of action against ODOT                                                                                              Unknown
           Nature of claim        Breach of Contract and other
                                  causes of action
           Amount requested                   $1,000,000.00



           RCB Bank                                                                                                                  $28,251.90
           Nature of claim               Subsequent transferee of
                                         pre-petition transfer
           Amount requested                              $28,251.90


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 9
                             Case: 22-12088               Doc: 56     Filed: 10/12/22           Page: 13 of 58

Debtor      Keystone Gas Corporation                                                Case number (If known) 22-12088-SAH
            Name


         Claims against Marle Production Co., LLC; J.J. & K. Oil
         Company LLC; Levinson Smith & Huffman P.C.; Little
         River Energy Co.; Oakland Petroleum Operating;
         Yarhola Production Company; Lee Levinson; Steve
         Crowder; and Philip Osterhout                                                                                       Unknown
         Nature of claim        Counter claims and causes of
                                action for tortious interference
         Amount requested                             $0.00



         Breach of contract against City of Yale                                                                             Unknown
         Nature of claim         Breach of contract
         Amount requested                        $50,000.00



         Cause of action against Superior Pipeline                                                                           Unknown
         Nature of claim         Breach of Contract
         Amount requested                      $150,000.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         ODOT Contract - Norfolk Road                                                                                      $294,504.87



         ODOT Contract - Hwy 18                                                                                            $257,219.88



         Fort Cobb Fuel Authority Contract                                                                                   Unknown




78.      Total of Part 11.                                                                                                $579,976.65
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
         n No
         o Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                             page 10
                                     Case: 22-12088                        Doc: 56               Filed: 10/12/22                    Page: 14 of 58

Debtor          Keystone Gas Corporation                                                                            Case number (If known) 22-12088-SAH
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $253.32

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $70,942.40

82. Accounts receivable. Copy line 12, Part 3.                                                                     $64,500.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $524,675.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,959,077.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $706.95

90. All other assets. Copy line 78, Part 11.                                                    +                $579,976.65

91. Total. Add lines 80 through 90 for each column                                                         $1,241,054.32            + 91b.            $5,959,077.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $7,200,131.32




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 11
                          Case: 22-12088              Doc: 56      Filed: 10/12/22         Page: 15 of 58
                                      Keystone Gas Corporation, Case No. 22-12088
                                      Schedule A/B
                                      Supplement to Part 9, No. 55.30, Pipeline



                                                  -
                      Keystone Gas Corporation Pipe by County, Size and Status


                     Active Pipe                                                       Inactive Pipe


      f-eet      Miles County, Type, Diameter                      Feel     Miles County, Type, Diameter
    1.270        0241 Creek County. Active 1" Poly                  618     0.117 Creek County, Inactive 10" Stee
  123,329      23.356 Creek County. Active 2" Poly                3,759     0.712 Creek County, Inactive 12" Stee
  126,819      24.019 Creek County, Active 2" Steel              56,454    10.692 Creek County, Inactive 2" Poly
  133,170      25.224 Creek County. Active 2-1/2" Steel         400,764    75.902 Creek County, Inactive 2" Steel
  166,483      31.531 Creek County. Active 3" Poly              210,514    39.870 Creek County, Inactive 2-1/2" Steel
  101,519      19.228 Creek County, Active 3“ Steel              70,547    13.361 Creek County, Inactive 3" Poly
   74,703      14.149 Creek County. Active 4" Poly              198,476    37.590 Creek County, Inactive 3" Steel
  110,665      20.958 Creek County. Active 4“ Steel               8,262     1.565 Creek County, Inactive 4" Poly
   41,680       7.898 Creek County, Active 5" Steel             208,437    39.477 Creek County, Inactive 4" Steel
    5,908       1.119 Creek County. Active 5-1/2" Steel          51,178     9.693 Creek County, Inactive 5" Steel
  121,850      23078 Creek County, Active 6" Poly                 5,210     0.987 Creek County, Inactive 5-1/2" Steel
  195,621      37.087 Creek County, Active 6" Steel               3,019     0.572 Creek County, Inactive 5-3/16" Steel
   62,188      11.778 Creek County. Active 7" Steel             366,161    69.349 Creek County, Inactive 6" Steel
   20,086       3 804 Creek County, Active 8“ Poly               1,214      0.230 Creek County, Inactive 6-5/8" Steel
  407,688      77.214 Creek County, Active 8" Steel             26,950      5.104 Creek County, Inactive 7" Steel
    1,629       0.309 Creek County. Active 8-1/4" Steel         72,974     13.821 Creek County, Inactive 8" Steel
   44,297       8390 Creek County, Active 10" Poly
  23,544        4.459 Creek County. Active 10“ Steel       1,684,537      319.041 Total Creek County Inactive
  36,884        6.986 Creek County, Active 12“ Steel
  15,101        2.860 Creek County, Active 12-3/4" Steel
    5,993       1.135 Creek County, Active 20“ Steel

1,820,635     344 822 Total Creek County




    Feet        Miles County, Type, Diameter                      Feet      Miles   County, Type, Diameter
  41,187       7.801 Lincoln County, Active 3" Poly                344      0.065   Lincoln County, Inactive 2" Poly
  42,338       8.019 Lincoln County, Active 4’ Steel             9,608      1.820   Lincoln County, Inactive 3" Poly
  13,144       2.489 Lincoln County, Active 6" Poly              5,561      1.053   Lincoln County, Inactive 4" Stee
  10,477       1.984 Lincoln County, Active 6" Steel
  58,628      11.104 Lincoln County, Active 8“ Steel                                          I          I
                                                                15,513      2.938 Total Lincoln County Inactive

165,774       31.397 Total Lincoln County



   Feet        Miles County, Type, Diameter
 10,449        1.979 Logan County, Active 16" Steel

 10.449        1.979 Total Logan County




                                                                                                                         CamScanner
                            Case: 22-12088               Doc: 56    Filed: 10/12/22         Page: 16 of 58




                      Keystone Gas Corporation - Pipe by County, Size and Status                                P92
                                                                       Feet       Miles County, Type, Diameter
                                                                      4,634       0.878 Osage County, Inactive 2" Poly
                                                                      1,025       0.194 Osage County, Inactive 2" Steel
                                                                    105,818      20.041 Osage County, Inactive 3" Steel
                                                                     41,434       7.847 Osage County, Inactive 4" Steel
                                                                    131,624      24.929 Osage County, Inactive 6" Steel
                                                                      3,607       0.683 Osage County, Inactive Unknown
                                                                                                     I          I
                                                                    288,142      54.572 Total Osage County Inactive



       Feet        Miles County, Type, Diameter                        Feet        Miles County, Type, Diameter
     69,865      13.232 Pawnee County, Active 2" Poly                16,674       3.158 Pawnee County, Inactive 10" Poly
      4,518       0.856 Pawnee County, Active 2" Steel               49,830       9.438 Pawnee County, Inactive 2" Poly
    164,548      31.164 Pawnee County, Active 3" Poly                18,696       3.541 Pawnee County. Inactive 2" Steel
      3,927       0.744 Pawnee County, Active 3" Steel              130,034      24.628 Pawnee County. Inactive 3" Poly
    161,223      30.535 Pawnee County, Active 4" Poly                81,087      15.357 Pawnee County, Inactive 4" Poly
     33,532       6.351 Pawnee County, Active 4" Steel                2,006       0.380 Pawnee County, Inactive 4“ Steel
    128,290      24.297 Pawnee County, Active 6" Poly               124,475      23.575 Pawnee County, Inactive 6" Poly
        643       0.122 Pawnee County, Active 6" Steel              145,985      27.649 Pawnee County, Inactive 6" Steel
    214,331      40.593 Pawnee County, Active 8" Poly                12,931       2.449 Pawnee County. Inactive 8" Poly
     35,474       6.719 Pawnee County, Active 10" Poly                                            I         I
                                                                   581,718     110.174 Total Pawnee County Inactive
    816,351    154.612 Total Pawnee County

        Fee        Miles County, Type, Diameter       ]                 Feet      Miles County, Type, Diameter
   151,990      28.786 Payne County, Active 12-3/4" Steel            40,427      7.657 Payne County, Inactive 2" Poly
     66,697     12.632 Payne County, Active 16" Steel                46,100      8.731 Payne County, Inactive 2" Steel
   105,834      20.044 Payne County, Active 2" Poly                   5,445      1.031 Payne County, Inactive 2-1/2" St eel
    33,225        6.293 Payne County, Active 2" Steel              121,591      23.029 Payne County, Inactive 3n Poly
   156,594      29.658 Payne County, Active 3" Poly                 45,434       8.605 Payne County, Inactive 3" Steel
    66,251      12.548 Payne County, Active 3" Steel                11,281       2.137 Payne County, Inactive 4" Poly
   123,220     23.337 Payne County, Active 4" Poly                  76,019      14.398 Payne County, Inactive 4" Steel
   137,615     26.063 Payne County, Active 4" Steel                   3,675      0.696 Payne County, Inactive 5-1/2" Steel
      8,522      1.614 Payne County, Active 4-1/2" Steel            56,785      10.755 Payne County, Inactive 6" Poly
    10,579       2.004 Payne County, Active 5" Steel                41,286       7.819 Payne County, Inactive 6" Steel
    90,474     17.135 Payne County, Active 6" Poly                  86,392      16.362 Payne County, Inactive 7" Steel
    97,681     18.500 Payne County, Active 6" Steel                   5,284      1.001 Payne County, Inactive 8" Poly
    17,166       3.251 Payne County, Active 6-5/8" Steel            64,183      12.156 Payne County, Inactive 8“ Steel
     1,456       0.276 Payne County, Active 7" Steel                63,815      12.086 Payne County, Inactive unknown
    99,845     18.910 Payne County, Active 8" Poly                                               I          I
   158.249     29.971 Payne County. Active 8" Steel                667,717     126.462 Total Payne County Inactive
     3,805      0.721 Payne County, Active unknown

1,329,203     251.743 Total Payne County *

4,478,907 feet total active pipe                               3,237,627 feet total Inactive pipe
      848 miles total active pipe                                    613 miles total Inactive pipe

*Approx. 6 feet of pipe in Payne County was sold in
connection with the sale of the Stillwater system. See
Statement of Financial Affairs, Part 6, No. 13.




                                                                                                                      r     1

                                                                                                                          cs CamScanner
                                                     Case: 22-12088        Doc: 56        Filed: 10/12/22         Page: 17 of 58
                                                                               Keystone Gas Corporation
                                                                                  Case No. 22-12088
                                                                              Schedule A/B - Exhibit 55.31
                                                                            Nature and Extent of Debtor's      Net Book Value of     Valuation Method for    Current Value of Debtor's
            Description of Property                Location of Property         Interest in Property           Debtor's Interest         Current Value               Interest
                                            State: OK
                                            County: Payne
Lessor -- Louis Jeske                       Section: 11
Lease No.                                   Township: 18N
Dated: October 12, 2004                     Range: 5E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
                                            County: Payne
Lessor -- Louis Jeske                       Section: 10
Lease No.                                   Township: 18N
Dated: October 12, 2004                     Range: 5E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
                                            County: Payne
Lessor -- Roger Passick                     Section: 9
Lease No.                                   Township: 18N
Dated: October 20, 2005                     Range: 4E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
Lessor -- Donald R. Boyles and Juanita J.   County: Payne
Boyles Revocable Trust                      Section: 9
Lease No.                                   Township: 18N
Dated: October 21, 2005                     Range: 4E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
                                            County: Payne
Lessor -- Lee Thompson                      Section: 24
Lease No.                                   Township: 18N
Dated: August 1, 2006                       Range: 5E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
                                            County: Payne
Lessor -- Dorothy Laughlin                  Section: 2
Lease No.                                   Township: 18N
Dated: October 30, 2008                     Range: 5E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                            State: OK
                                            County: Payne
Lessor -- Virginia McClellin                Section: 3
Lease No.                                   Township: 18N
Dated: February 28, 2009                    Range: 5E                     Right-Of-Way Easement              Undetermined          N/A                      Undetermined
                                              Case: 22-12088    Doc: 56       Filed: 10/12/22   Page: 18 of 58



                                      State: OK
                                      County: Payne
Lessor -- Violet Harris               Section: 3
Lease No.                             Township: 18N
Dated: February 26, 2009              Range: 5E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Mike Lauderdale             Section: 25
Lease No.                             Township: 18N
Dated: June 10, 2009                  Range: 5E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Troy and Trena Withey       Section: 15
Lease No.                             Township: 18N
Dated: April 23, 2011                 Range: 1E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- John E. Lee                 Section: 10
Lease No.                             Township: 18N
Dated: October 3, 2012                Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Carl D. Moreland            Section: 14
Lease No.                             Township: 18N
Dated: December 19, 2012              Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Shad Hane or Melinda Hane   Section: 15
Lease No.                             Township: 18N
Dated: January 3, 2013                Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Mary A. Jett                Section: 15
Lease No.                             Township: 18N
Dated: March 20, 2013                 Range: 6E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                      State: OK
                                      County: Payne
Lessor -- Randy Ryan                  Section: 15
Lease No.                             Township: 18N
Dated: April 8, 2013                  Range: 6E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                        Case: 22-12088    Doc: 56       Filed: 10/12/22   Page: 19 of 58



                                                State: OK
Lessor -- Keith W. Schmidt and Shelley D.       County: Payne
Schmidt                                         Section: 15
Lease No.                                       Township: 18N
Dated: August 20, 2013                          Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- Carla L. Meadors and Rusty Focht      Section: 15
Lease No.                                       Township: 18N
Dated: January 23, 2014                         Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- Darrel Robinson                       Section: 34
Lease No.                                       Township: 18N
Dated: April 22, 2014                           Range: 5E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- Quadco                                Section: 35
Lease No.                                       Township: 18N
Dated: April 29, 2014                           Range: 5E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- BKEP Pipeline, L.L.C.                 Section: Multiple
Lease No.                                       Township: Multiple
Dated: March 6, 2017                            Range: Multiple          Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- The First Baptist Church of Cushing   Section: 35
Lease No.                                       Township: 18N
Dated: September 11, 2018                       Range: 5E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Payne
Lessor -- DCP Midstream, LP                     Section: 21
Lease No.                                       Township: 19N
Dated: December 4, 2008                         Range: 2E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                State: OK
                                                County: Creek
Lessor -- Duke Energy Field Services Assets, LP Section: 34
Lease No.                                       Township: 18N
Dated: August 16, 2001                          Range: 9E                Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                           Case: 22-12088    Doc: 56       Filed: 10/12/22   Page: 20 of 58



                                                  State: OK
                                                  County: Creek
Lessor -- Mark A. Sellers                         Section: 23
Lease No.                                         Township: 17N
Dated: April 2, 2003                              Range: 7E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
                                                  County: Creek
Lessor -- George Matherly                         Section: 16 and 17
Lease No.                                         Township: 18N
Dated: October 14, 2003                           Range: 8                  Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
                                                  County: Creek
Lessor --Austin Goings                            Section: 5
Lease No.                                         Township: 18N
Dated: August 24, 2006                            Range: 9E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
                                                  County: Creek
Lessor -- Arthur Thomas                           Section: 8
Lease No.                                         Township: 18N
Dated: August 31, 2006                            Range: 9E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
Lessor -- Dan A. Simonton and Geraldine L.        County: Creek
Simonton                                          Section: 1
Lease No.                                         Township: 17N
Dated: November 22, 2000                          Range: 7E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
                                                  County: Creek
Lessor -- Dwain Flatt, and Dracy Flatt            Section: 16
Lease No.                                         Township: 17N
Dated: November 22, 2000                          Range: 7E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
Lessor -- The Estate of Ella E. Glimp through its State: OK
Co-personal Representatives, Dale S. Glimp        County: Creek
and H. Earl Glimp                                 Section: 1
Lease No.                                         Township: 17N
Dated: November 22, 2000                          Range: 7E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                  State: OK
                                                  County: Creek
Lessor -- Gloria Curry                            Section: 18
Lease No.                                         Township: 17N
Dated: May 3, 2007                                Range: 7E                 Right-Of-Way Easement       Undetermined      N/A   Undetermined
                                                     Case: 22-12088    Doc: 56           Filed: 10/12/22   Page: 21 of 58



                                             State: OK
                                             County: Creek
Lessor -- John and Bonnie Sweeten            Section: 7
Lease No.                                    Township: 18N
Dated: April 27, 2010                        Range: 7E                Right-Of-Way Easement           Undetermined      N/A   Undetermined
                                             State: OK
                                             County: Creek
Lessor -- Canyon Creek Ranch, LLC            Section: 28
Lease No.                                    Township: 17N
Dated: October 7, 2016                       Range: 7E                Right-Of-Way Easement           Undetermined      N/A   Undetermined
                                             State: OK
Lessor -- The Drumright Municipal Healthcare County: Creek
Authority, a Public Trust Authority          Section: 31
Lease No.                                    Township: 18N
Dated: January 24, 2003                      Range: 7E                Utility Easement                Undetermined      N/A   Undetermined
                                      Case: 22-12088                Doc: 56            Filed: 10/12/22           Page: 22 of 58

Fill in this information to identify the case:

Debtor name          Keystone Gas Corporation

United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

Case number (if known)              22-12088-SAH
                                                                                                                                      o Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      o No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      n Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Ally Bank                                    Describe debtor's property that is subject to a lien                   $10,149.00               $27,200.00
       Creditor's Name                              2018 Chevy Silverado (7882)
       P.O. Box 380902
       Minneapolis, MN 55438
       Creditor's mailing address                   Describe the lien
                                                    Vehicle Loan
                                                    Is the creditor an insider or related party?
                                                    n No
       Creditor's email address, if known           o Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       o No
                                                    n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1651
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       n No                                         o Contingent
       o Yes. Specify each creditor,                o Unliquidated
       including this creditor and its relative     o Disputed
       priority.



2.2    Ally Bank                                    Describe debtor's property that is subject to a lien                     $8,484.69              $27,200.00
       Creditor's Name                              2018 Chevy Silverado (5721)
       P.O. Box 380902
       Minneapolis, MN 55438
       Creditor's mailing address                   Describe the lien
                                                    Vehicle Loan
                                                    Is the creditor an insider or related party?
                                                    n No
       Creditor's email address, if known           o Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       o No
                                                    n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9737
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
                                    Case: 22-12088                Doc: 56            Filed: 10/12/22           Page: 23 of 58

Debtor      Keystone Gas Corporation                                                              Case number (if known)     22-12088-SAH
            Name

      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.3   Ally Bank                                   Describe debtor's property that is subject to a lien                      $2,733.83       $26,050.00
      Creditor's Name                             2017 Chevy Silverado (2791)
      P.O. Box 380902
      Minneapolis, MN 55438
      Creditor's mailing address                  Describe the lien
                                                  Vehicle Loan
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.4   BankDirect Capital Finance                  Describe debtor's property that is subject to a lien                     $15,271.38       Unknown
      Creditor's Name                             Unearned Insurance Premiums
      150 North Field Drive
      Suite 190
      Lake Forest, IL 60045
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative
      priority.
                                                  n Disputed


2.5
      Caterpillar Financial
      Services Corp.                              Describe debtor's property that is subject to a lien                          $0.00           $0.00
      Creditor's Name

      2120 West End Avenue
      Nashville, TN 37203
      Creditor's mailing address                  Describe the lien
                                                  Unreleased UCC-1
                                                  Is the creditor an insider or related party?
                                                  n No
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 6
                                    Case: 22-12088                Doc: 56            Filed: 10/12/22           Page: 24 of 58

Debtor      Keystone Gas Corporation                                                              Case number (if known)      22-12088-SAH
            Name

      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      n No
                                                  o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



      De Lange Landen Financial
2.6                                                                                                                          Unknown         Unknown
      Services, Inc.                              Describe debtor's property that is subject to a lien
      Creditor's Name
      1111 Old Eagle School
      Road
      Wayne, PA 19087
      Creditor's mailing address                  Describe the lien
                                                  Unreleased UCC-1
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      n No
                                                  o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.7   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $213,227.00          $0.00
      Creditor's Name
      Centralized Insolvency
      Operation
      P.O. Box 7346
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien
                                                  Federal Tax Lien
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 6
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Debtor      Keystone Gas Corporation                                                              Case number (if known)      22-12088-SAH
            Name


2.8   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $100,310.65       $0.00
      Creditor's Name
      Centralized Insolvency
      Operation
      P.O. Box 7346
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien
                                                  Federal Tax Lien
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.9   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $199,938.00       $0.00
      Creditor's Name
      Centralized Insolvency
      Operation
      P.O. Box 7346
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien
                                                  Federal Tax Lien
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.1
0     Internal Revenue Service                    Describe debtor's property that is subject to a lien                       $2,346.90       $0.00
      Creditor's Name
      Centralized Insolvency
      Operation
      P.O. Box 7346
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien
                                                  Federal Tax Lien
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 4 of 6
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Debtor      Keystone Gas Corporation                                                              Case number (if known)     22-12088-SAH
            Name

      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.1
1     Oklahoma Tax Commission                     Describe debtor's property that is subject to a lien                     $63,760.23          $0.00
      Creditor's Name
      Attn: Bankruptcy
      P.O. Box 269056
      Oklahoma City, OK 73126
      Creditor's mailing address                  Describe the lien
                                                  State Tax Lien
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.



2.1
2     RCB Bank                                    Describe debtor's property that is subject to a lien                     $62,000.00       Unknown
      Creditor's Name                             1985 GMC (8011); 1998 Ford (6835); 1999 Ford
                                                  (6792); 2000 Ford (0456); 2005 Chevrolet
                                                  (1165); 2007 Ford (7000); 2007 Chevrolet
                                                  (4914); 2007 GMC (7152); 2009 Ford (2759);
      P.O. Box 189                                2012 Dodge (1871); etc.
      Claremore, OK 74018
      Creditor's mailing address                  Describe the lien
                                                  Vehicles
                                                  Is the creditor an insider or related party?
                                                  n No
      Creditor's email address, if known          o Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      o No
                                                  n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      517L
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
      n No                                        o Contingent
      o Yes. Specify each creditor,               o Unliquidated
      including this creditor and its relative    o Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 6
                               Case: 22-12088                 Doc: 56           Filed: 10/12/22               Page: 27 of 58

Debtor      Keystone Gas Corporation                                                           Case number (if known)         22-12088-SAH
            Name

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $678,221.68

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 6 of 6
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Fill in this information to identify the case:

Debtor name        Keystone Gas Corporation

United States Bankruptcy Court for the:         WESTERN DISTRICT OF OKLAHOMA

Case number (if known)          22-12088-SAH
                                                                                                                                         o Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         o No. Go to Part 2.
         n Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                            $13,628.88        $13,628.88
          Alvin Rusco                                         Check all that apply.
          45210 West Hwy 51                                   o Contingent
          Jennings, OK 74038                                  o Unliquidated
                                                              o Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 n No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              o Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $7,024.20        $7,024.20
          Charles Lindsey Riddle                              Check all that apply.
          43747 West 131st Street                             o Contingent
          Bristow, OK 74010                                   o Unliquidated
                                                              o Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 n No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              o Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 25
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Debtor      Keystone Gas Corporation                                                                  Case number (if known)   22-12088-SAH
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $87,400.40   $87,400.40
          Creek County Treasurer                             Check all that apply.
          317 E. Lee, Room 201                               o Contingent
          Sapulpa, OK 74066                                  o Unliquidated
                                                             n Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             o Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $136,453.38   $136,453.38
          Internal Revenue Service                           Check all that apply.
          Centralized Insolvency Operation                   o Contingent
          P.O. Box 7346                                      o Unliquidated
          Philadelphia, PA 19101                             o Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Federal Income Tax Period 2018
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             o Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $21,764.67   $21,764.67
          Internal Revenue Service                           Check all that apply.
          Centralized Insolvency Operation                   o Contingent
          P.O. Box 7346                                      o Unliquidated
          Philadelphia, PA 19101                             o Disputed

          Date or dates debt was incurred                    Basis for the claim:
                                                             2020 Payroll Taxes
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                n No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             o Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $8,938.38   $8,938.38
          Jeremy W. Tillery                                  Check all that apply.
          320 West Web Street                                o Contingent
          Glencoe, OK 74032                                  o Unliquidated
                                                             o Disputed

          Date or dates debt was incurred                    Basis for the claim:
                                                             Wages
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                n No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             o Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 25
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Debtor       Keystone Gas Corporation                                                                   Case number (if known)          22-12088-SAH
             Name

2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $6,000.00   $6,000.00
          Myrna Sellers                                        Check all that apply.
          52594 West 101st Street South                        o Contingent
          Drumright, OK 74030                                  o Unliquidated
                                                               o Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Wages
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  n No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               o Yes

2.8       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown     Unknown
          Richard Allen Sellers, III                           Check all that apply.
          P.O. Box 711                                         o Contingent
          Drumright, OK 74030                                  o Unliquidated
                                                               o Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Wages
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  n No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               o Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $921.57
          ADT Security Services                                              o Contingent
          3190 S. Vaughn Way                                                 o Unliquidated
          Aurora, CO 80014                                                   o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Advance Oil                                                        o Contingent
          14504 Hwy 75 Alternate                                             o Unliquidated
          Kiefer, OK 74041                                                   o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $82.06
          Airgas USA, LLC                                                    o Contingent
          P.O. Box 734671                                                    o Unliquidated
          Dallas, TX 75373                                                   o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:     Services Rendered
          Last 4 digits of account number    8018
                                                                             Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Allen Baugh                                               o Contingent
         12589 South 486th W. Avenue                               o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,722.05
         Arco Environmental Remediation, LLC                       o Contingent
         1701 Summit, Suite 2                                      o Unliquidated
         Plano, TX 75074                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Aruba Petroleum, Inc.                                     o Contingent
         555 Republic Drive                                        o Unliquidated
         Plano, TX 75074                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,349.24
         AT&T                                                      o Contingent
         208 S. Akard Street                                       o Unliquidated
         Dallas, TX 75201                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Atchley Resources, Inc.                                   o Contingent
         13903 Quail Pointe Drive                                  o Unliquidated
         Oklahoma City, OK 73134                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         B&G Oil Co.                                               o Contingent
         P.O. Box 558                                              o Unliquidated
         Hominy, OK 74035                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Baker Hughes Oilfield Inc.                                o Contingent
         1333 Corporate Drive #300                                 o Unliquidated
         Irving, TX 75038                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Barta Enterprises, LLC                                    o Contingent
         6401 Rambridge Drive                                      o Unliquidated
         Oklahoma City, OK 73162                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,123.28
         Battery Outfitters                                        o Contingent
         P.O. Box 215                                              o Unliquidated
         Golden, MO 65658                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number   9118
                                                                   Is the claim subject to offset?   n No o Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Becca Oil, LLC                                            o Contingent
         P.O. Box 1347                                             o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Benson Minerals Group, Inc.                               o Contingent
         1560 Broadway #1900                                       o Unliquidated
         Denver, CO 80202                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Berexco LLC                                               o Contingent
         2020 Bramblewood                                          o Unliquidated
         Wichita, KS 67206                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Big Four Operation                                        o Contingent
         1214 South Highland                                       o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Brandon & Regina Brunker                                  o Contingent
         7222 S. Fairgrounds Road                                  o Unliquidated
         Stillwater, OK 74074                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         C & B Oil Company                                         o Contingent
         P.O. Box 176                                              o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         C&C Production LLC                                        o Contingent
         P.O. Box 1861                                             o Unliquidated
         Muskogee, OK 74402                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Casa Grande Exploration Co.                               o Contingent
         11371 Waverly Drive                                       o Unliquidated
         Casa Grande, AZ 85194                                     o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Cher Oil Company Inc.                                     o Contingent
         7317 S. Ripley Road                                       o Unliquidated
         Ripley, OK 74062                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Chizum Oil, LLC                                           o Contingent
         P.O. Box 123                                              o Unliquidated
         Andover, KS 67002                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Chris Clemenshine                                         o Contingent
         2425 E. 53rd Street                                       o Unliquidated
         Tulsa, OK 74105                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Circle 9 Resources LLC                                    o Contingent
         P.O. Box 249                                              n Unliquidated
         Oklahoma City, OK 73101
                                                                   n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Circle K Oil & Gas                                        o Contingent
         P.O. Box 276                                              o Unliquidated
         Sand Springs, OK 74063                                    o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         City of Yale                                              o Contingent
         209 N. Main Street                                        o Unliquidated
         Yale, OK 74085                                            n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Pending Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Clemishire Drilling Co.                                   o Contingent
         2425 E. 53rd Street                                       o Unliquidated
         Tulsa, OK 74105                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Clyde Matheson Jr. & Nancy C. Trust                       o Contingent
         2208 S. Council Creek Road                                o Unliquidated
         Stillwater, OK 74074                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Community Care                                            o Contingent
         P.O. Box 3249                                             o Unliquidated
         Tulsa, OK 74101                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Concorde Resources Corporation                            o Contingent
         P.O. Box 841                                              o Unliquidated
         Eufaula, OK 74432                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Dan A. and Geraldine L. Simonton                          o Contingent
         48098 W. 131st Street South                               o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $7,892.80
         Davco Fab                                                 o Contingent
         P.O. Box 361                                              o Unliquidated
         921 North Main                                            o Disputed
         Jennings, OK 74038
                                                                   Basis for the claim:    Vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,152.29
         Dell Financial Services
         Resurgent Acquisitions LLC                                o Contingent
         c/o Resurgent Capital Services LP                         o Unliquidated
         55 Beattie Place, Suite 110                               o Disputed
         Greenville, SC 29601
                                                                   Basis for the claim:
         Date(s) debt was incurred 06/20/2005
         Last 4 digits of account number 8903                      Is the claim subject to offset?   n No o Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Delong Oil & Gas, Inc.                                    o Contingent
         P.O. Box 591                                              o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $656.25
         Department of the Army                                    o Contingent
         U.S. Army Corp. of Engineers                              o Unliquidated
         5722 Integrity Drive                                      o Disputed
         Millington, TN 38054
                                                                   Basis for the claim:    Rental
         Date(s) debt was incurred
         Last 4 digits of account number   0073                    Is the claim subject to offset?   n No o Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $19,000.00
         Dexxon Yarhola                                            o Contingent
         732 Indiana Avenue                                        o Unliquidated
         Kiefer, OK 74041                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Royalties from 2019
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Dorla M. Brown Living Trust                               o Contingent
         2156 E. 48th Place                                        o Unliquidated
         Tulsa, OK 74105                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         E. Nossaman Oil, Inc.                                     o Contingent
         429 W. Ercoupe Drive                                      o Unliquidated
         Midwest City, OK 73110                                    o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Eagle River Energy Corp.                                  o Contingent
         3701 S. Orange Circle                                     o Unliquidated
         Broken Arrow, OK 74011                                    o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Earl Oil, Inc.                                            o Contingent
         1910 Copperfield                                          o Unliquidated
         Stillwater, OK 74074                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,789.99
         Earl-Le Dozier, LLC                                       o Contingent
         P.O. Box 351                                              o Unliquidated
         512 W. Highway 33                                         o Disputed
         Drumright, OK 74030
                                                                   Basis for the claim:    Vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Earl-Le Oil Company                                       o Contingent
         15341 S. 465th West Avenue                                o Unliquidated
         Bristow, OK 74010                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Edge Oil Company                                          o Contingent
         P.O. Box 284                                              o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Emerald Oil LLC                                           o Contingent
         369142 East 960 Road                                      o Unliquidated
         Welty, OK 74833                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Fairview Production                                       o Contingent
         P.O. Box 1995                                             o Unliquidated
         Muldrow, OK 74948                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Fallen Timbers Energy, LLC                                o Contingent
         2202 E. 49th Street                                       o Unliquidated
         Suite 330                                                 o Disputed
         Tulsa, OK 74105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Fowler of Tulsa C LLC                                     o Contingent
         c/o Michael S. Fowler                                     o Unliquidated
         2721 NW 36th Avenue                                       o Disputed
         Norman, OK 73072
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         G & C Petroleum Inc.                                      o Contingent
         102 W. Boston Avenue                                      o Unliquidated
         Yale, OK 74085                                            o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Gary & Dee Dee Tucker                                     o Contingent
         P.O. Box 53                                               o Unliquidated
         Jennings, OK 74038                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Glimp Oil Company                                         o Contingent
         P.O. Box 391                                              o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         GMG Oil & Gas Corporation                                 o Contingent
         P.O. Box 1235                                             o Unliquidated
         Okmulgee, OK 74447                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Greg Sparks                                               o Contingent
         P.O. Box 3897                                             o Unliquidated
         Afton, OK 74331                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,415.71
         Gungoll, Jackson, Box, Devoll, PC                         o Contingent
         P.O. Box 1549                                             o Unliquidated
         Enid, OK 73702                                            o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Legal Services Rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Harold Cundiff                                            o Contingent
         11906 S. Country Club Road                                o Unliquidated
         Stillwater, OK 74059                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $3,936.72
         Harris Oil Co., Inc.                                      o Contingent
         Drawer 112                                                o Unliquidated
         Cushing, OK 74023                                         n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Huntington Energy, L.L.C.                                 o Contingent
         908 N.W. 71st Street                                      o Unliquidated
         Oklahoma City, OK 73116                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Indian Electric Coop                                      o Contingent
         2506 E. Highway 64                                        o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,852.94
         Industrial Oils Unlimited                                 o Contingent
         P.O. Box 3066                                             o Unliquidated
         Tulsa, OK 74101                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         J.A. Marrs Oil Company                                    o Contingent
         P.O. Box 1157                                             o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         J.J. & K. Oil Company LLC                                 o Contingent
         114 NW 8th Street                                         o Unliquidated
         Oklahoma City, OK 73102                                   n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Levinson Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $49,815.20
         Jacam Chemicals 2013 LLC                                  o Contingent
         205 S. Broadway                                           o Unliquidated
         P.O. Box 96                                               o Disputed
         Sterling, KS 67579
                                                                   Basis for the claim:    Vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,100.00
         James J. Hodgens, PC                                      o Contingent
         P.O. Box 686                                              o Unliquidated
         301 West Main Street                                      o Disputed
         Stroud, OK 74079
                                                                   Basis for the claim:    Legal Services Rendered
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,045.56
         Jaye Wilson                                               o Contingent
         3166 Old Hwy 52 South                                     o Unliquidated
         Pilot Mountain, NC 27041                                  o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Jeff Scott                                                o Contingent
         1805 E. 32nd Place                                        o Unliquidated
         Tulsa, OK 74105                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,045.56
         Joe Waters                                                o Contingent
         P.O. Box 70                                               o Unliquidated
         Luther, OK 73054                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Keener Oil & Gas Company                                  o Contingent
         1648 South Boston                                         o Unliquidated
         Suite 200                                                 o Disputed
         Tulsa, OK 74119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes




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            Name

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         KLO, LLC                                                  o Contingent
         c/o David W. Kvach                                        o Unliquidated
         321 S. Frankfort Avenue                                   o Disputed
         Tulsa, OK 74120
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Koby Oil Company, LLC                                     o Contingent
         P.O. Box 1945                                             o Unliquidated
         Oklahoma City, OK 73101                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,000.00
         Larry & Sheila Martin                                     o Contingent
         46751 E. 42nd Road                                        o Unliquidated
         Pawnee, OK 74058                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Larry Wolff                                               o Contingent
         750033 South 3540 Road                                    o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Lee Levinson                                              o Contingent
         Levinson, Smith & Huffman, P.C.                           o Unliquidated
         1743 E. 71st Street                                       n Disputed
         Tulsa, OK 74136
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Levinson Smith & Huffman P.C.                             o Contingent
         1743 East 71st Street                                     o Unliquidated
         Tulsa, OK 74136                                           n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Levinson Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Lincoln County Treasurer                                  o Contingent
         811 Manvel Avenue #6                                      o Unliquidated
         Chandler, OK 74834                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Little River Energy Co.                                   o Contingent
         1260 E. Broadway Street                                   o Unliquidated
         Drumright, OK 74030                                       n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Levinson Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,584.00
         Logan County RWD #3                                       o Contingent
         P.O. Box 187                                              o Unliquidated
         Marshall, OK 73056                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number   0913
                                                                   Is the claim subject to offset?   n No o Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,000.00
         Logan County Treasurer                                    o Contingent
         Logan County Courthouse                                   o Unliquidated
         301 E. Harrison Avenue #100                               o Disputed
         Guthrie, OK 73044
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Lojel Energy, LLC                                         o Contingent
         9724 Briarcreek                                           o Unliquidated
         Oklahoma City, OK 73162                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Loki Oil LLC                                              o Contingent
         1800 South Little Avenue                                  o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Loy Boyle d/b/a High Energy                               o Contingent
         P.O. Box 1762                                             o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Maggard Supply & Oil Company                              o Contingent
         257 Will Hayes Road                                       o Unliquidated
         Ellisville, MS 39437                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Mark A. Sellers                                           o Contingent
         P.O. Box 443                                              o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Marle Production Co. LLC                                  o Contingent
         5310 E. 31st Street                                       o Unliquidated
         Suite 900                                                 n Disputed
         Tulsa, OK 74135
         Date(s) debt was incurred
                                                                   Basis for the claim:    Levinson Lawsuit
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Marvin & Mary Vann                                        o Contingent
         36356 Pinehill Road                                       o Unliquidated
         Bristow, OK 74010                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,000.00
         Max Haken Glenco                                          o Contingent
         9815 N. Bethel Road                                       o Unliquidated
         Glencoe, OK 74032                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $17,839.64
         Measurement Solutions, Inc.                               o Contingent
         6705 E. 81st Street                                       o Unliquidated
         Suite 156                                                 n Disputed
         Tulsa, OK 74133
         Date(s) debt was incurred
                                                                   Basis for the claim:    Gas Services
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $3,817.42
         Memorial Machine                                          o Contingent
         6303 S. 40th West Avenue                                  o Unliquidated
         Tulsa, OK 74132                                           n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number   2002
                                                                   Is the claim subject to offset?   n No o Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Mickalson Operating Company                               o Contingent
         P.O. Drawer 409                                           o Unliquidated
         Jennings, OK 74038                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Mid-Con Energy, III L.L.C.                                o Contingent
         2341 East 61st Street, Suite 850                          o Unliquidated
         Tulsa, OK 74136                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,000.00
         Mike Lauderdale Enterprise                                o Contingent
         3215 E. Deep Rock Road                                    o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lease for yard
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Myrna Sellers                                             o Contingent
         52594 West 101st Street South                             o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Expenses
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         NBI Services, Inc.                                        o Contingent
         P.O. Box 4470                                             o Unliquidated
         Tulsa, OK 74159                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Nossaman E Oil Co., Inc.                                  o Contingent
         P.O. Box 15793                                            o Unliquidated
         Oklahoma City, OK 73155                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Oak Hill Petroleum Corporation                            o Contingent
         1611 Randel Road                                          o Unliquidated
         Oklahoma City, OK 73116                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Oakland Petroleum Operating                               o Contingent
         7318 S. Yale Avenue                                       o Unliquidated
         Suite B                                                   n Disputed
         Tulsa, OK 74136
         Date(s) debt was incurred
                                                                   Basis for the claim:    Levinson Lawsuit
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Office of Natural Resources Revenue                       o Contingent
         6525 N. Meridian Avenue                                   o Unliquidated
         Suite 270                                                 o Disputed
         Oklahoma City, OK 73116
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,234.33
         OGE Energy Corp.                                          o Contingent
         P.O. Box 321                                              o Unliquidated
         Oklahoma City, OK 73101                                   o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Oil State Petroleum                                       o Contingent
         P.O. Box 250                                              o Unliquidated
         Jennings, OK 74038                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $38,868.80
         Okie 811                                                  o Contingent
         6908 N. Robinson Avenue                                   o Unliquidated
         Oklahoma City, OK 73116                                   n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number   0398
                                                                   Is the claim subject to offset?   n No o Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $11,575.00
         Oklahoma One Call System Inc.                             o Contingent
         6908 N. Robinson Avenue                                   o Unliquidated
         Oklahoma City, OK 73118                                   n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Judgment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         PACE Exploration                                          o Contingent
         P.O. Box 701923                                           o Unliquidated
         Tulsa, OK 74170                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Paradigm Twenty LLC                                       o Contingent
         5821 Jesse Lane                                           o Unliquidated
         Stillwater, OK 74074                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Parwest Land Exploration, Inc.                            o Contingent
         2601 NW Expressway, Suite 500 West                        o Unliquidated
         Oklahoma City, OK 73112                                   n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Patti Lynn Bryant
         c/o Micah D. Sexton                                       o Contingent
         123 W. 7th, Suite 202                                     o Unliquidated
         P.O. Box 1118                                             n Disputed
         Stillwater, OK 74074
                                                                   Basis for the claim:    Lawsuit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $111.46
         Payne County Rural Water District #2                      o Contingent
         P.O. Box 103                                              o Unliquidated
         Terlton, OK 74081                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Payne County Treasurer                                    o Contingent
         315 W. 6th Avenue                                         o Unliquidated
         Stillwater, OK 74074                                      o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Petco Petroleum Corporation                               o Contingent
         108 East Ogden Avenue                                     o Unliquidated
         Hinsdale, IL 60521                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Petro Warrior L.L.C.                                      o Contingent
         P.O. Box 306                                              o Unliquidated
         Broken Arrow, OK 74103                                    o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $63,478.09
         Phil's Testing & Consulting, LLC                          o Contingent
         13125 SE 40th Street                                      o Unliquidated
         Choctaw, OK 73020                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Philip Osterhout                                          o Contingent
         P.O. Box 693                                              o Unliquidated
         Drumright, OK 74030                                       n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,788.56
         Pitney Bowes                                              o Contingent
         2225 American Drive                                       o Unliquidated
         Neenah, WI 54956                                          n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number   3376
                                                                   Is the claim subject to offset?   n No o Yes
3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Randall & Deborah Fitzsimmons                             o Contingent
         397180 W. 300 Road                                        o Unliquidated
         Copan, OK 74022                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         RBT Operating LLC                                         o Contingent
         2209 S. Airport Road                                      o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Redtail Investments LLC                                   o Contingent
         P.O. Box 120                                              o Unliquidated
         Wheatland, OK 73097                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Revard Oil & Gas Properties, Inc.                         o Contingent
         P.O. Box 702294                                           o Unliquidated
         Tulsa, OK 74170                                           o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Richard Allen Sellers, III                                o Contingent
         P.O. Box 711                                              o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Expenses
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         River Energy Ltd, LLC                                     o Contingent
         P.O. Box 289                                              o Unliquidated
         Mannford, OK 74044                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Roberson Oil Company, Inc.                                o Contingent
         P.O. Box 8                                                o Unliquidated
         Ada, OK 74821                                             o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Roe Oil Company
         c/o Larry Roe                                             o Contingent
         6707 N. Harmony Road                                      o Unliquidated
         P.O. Box 86                                               o Disputed
         Cushing, OK 74023
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   n No o Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $12,987.00
         RSI, Inc.                                                 o Contingent
         P.O. Box 1829                                             o Unliquidated
         Seminole, OK 74818                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Ruh Oil Company                                           o Contingent
         P.O. Box 841                                              o Unliquidated
         Owasso, OK 74055                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         S & M Production                                          o Contingent
         P.O. Box 366                                              o Unliquidated
         Pawnee, OK 74058                                          o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Shideler Enterprises, Inc.                                o Contingent
         P.O. Box 1233                                             o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Sparks Oil Company                                        o Contingent
         P.O. Box 597                                              o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Spress Oil Company                                        o Contingent
         200 South Broadway Street                                 o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Stacy Operating, LLC                                      o Contingent
         P.O. Box 511                                              o Unliquidated
         Cushing, OK 74023                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Steve Crowder                                             o Contingent
         P.O. Box 1113                                             o Unliquidated
         Drumright, OK 74030                                       n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lawsuit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $6,421.68
         Suddenlink                                                o Contingent
         200 Jericho Quadrangle                                    o Unliquidated
         Jericho, NY 11753                                         n Disputed
         Date(s) debt was incurred 6331
                                                                   Basis for the claim:    Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Superior Oil & Gas, LLC                                   o Contingent
         42516 Hwy 412                                             o Unliquidated
         Ringwood, OK 73768                                        o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $40,089.14
         Superior Pipeline                                         o Contingent
         P.O. Box 702500                                           o Unliquidated
         Tulsa, OK 74170                                           n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Overpayment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor      Keystone Gas Corporation                                                        Case number (if known)            22-12088-SAH
            Name

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Sykes Production, LLD                                     o Contingent
         P.O. Box 527                                              o Unliquidated
         Cleveland, OK 74020                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Tarka Energy, LLC                                         o Contingent
         2 Riverway, Suite 1100                                    o Unliquidated
         Houston, TX 77056                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Umberham Oil Well Company                                 o Contingent
         Box 363                                                   o Unliquidated
         Drumright, OK 74030                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $4,000.00
         Walt Pettit                                               o Contingent
         705 Yuma Drive                                            o Unliquidated
         Broken Arrow, OK 74011                                    o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Personal Loan for Insurance Premiums
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Warrior Exploration and Production, LLC                   o Contingent
         P.O. Box 711                                              o Unliquidated
         Barnsdall, OK 74002                                       o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $11,242.99
         Waukesha-Pierce Industries, LLC                           o Contingent
         P.O. Box 204116                                           o Unliquidated
         Dallas, TX 75320                                          n Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services Rendered
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       Unknown
         Weaver Investments, Inc.                                  o Contingent
         45988 W. 141st Street South                               o Unliquidated
         Bristow, OK 74010                                         o Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   n No o Yes




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Debtor       Keystone Gas Corporation                                                               Case number (if known)            22-12088-SAH
             Name

3.137     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Yale Water and Sewage Trust
          c/o William K. Elias                                             o Contingent
          Elias, Books, Brown & Nelson, P.C.                               o Unliquidated
          211 N. Robinson Avenue                                           n Disputed
          Oklahoma City, OK 73102
                                                                           Basis for the claim:    Pending Lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   n No o Yes
3.138     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Yarhola Production Company                                       o Contingent
          1209 E. Bdwy                                                     o Unliquidated
          Drumright, OK 74030                                              n Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Levinson Lawsuit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?   n No o Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Circle 9 Resources LLC
          c/o Justin G. Bates                                                                       Line     3.24
          Phillips Murrah P.C.
          101 North Robinson                                                                        o      Not listed. Explain

          Oklahoma City, OK 73102

4.2       City of Yale
          c/o William K. Elias                                                                      Line     3.26
          Elias, Books, Brown & Nelson, P.C.
          211 N. Robinson Avenue                                                                    o      Not listed. Explain

          Oklahoma City, OK 73102

4.3       City of Yale
          c/o Roger L. McMillian                                                                    Line     3.26
          Roger L. McMillian, P.C.
          111 W. 9th                                                                                o      Not listed. Explain

          Stillwater, OK 74076

4.4       City of Yale
          c/o Roger L. McMillian                                                                    Line     3.137
          Roger L. McMillian, P.C.
          111 W. 9th                                                                                o      Not listed. Explain

          Stillwater, OK 74076

4.5       Dell Financial Services
          P.O. Box 80409                                                                            Line     3.33
          Austin, TX 78708
                                                                                                    o      Not listed. Explain

4.6       Dexxon, Inc.
          P.O. Box 348                                                                              Line     3.36
          Kiefer, OK 74041
                                                                                                    o      Not listed. Explain




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 25
                            Case: 22-12088       Doc: 56         Filed: 10/12/22               Page: 51 of 58

Debtor      Keystone Gas Corporation                                           Case number (if known)        22-12088-SAH
            Name

         Name and mailing address                                             On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                              related creditor (if any) listed?         account number, if
                                                                                                                        any
4.7      Dexxon, Inc.
         c/o Jessie V. Pilgrim                                                Line   3.36
         P.O. Box 897
         Kiefer, OK 74041                                                     o      Not listed. Explain


4.8      J.J. & K. Oil Company LLC
         c/o Evan M. McLemore                                                 Line   3.60
         Levinson, Smith & Huffman, P.C.
         1743 E. 71st Street                                                  o      Not listed. Explain

         Tulsa, OK 74136

4.9      Little River Energy Co.
         c/o Evan M. McLemore                                                 Line   3.74
         Levinson, Smith & Huffman, P.C.
         1743 E. 71st Street                                                  o      Not listed. Explain

         Tulsa, OK 74136

4.10     Marle Production Co. LLC
         c/o Evan M. McLemore                                                 Line   3.82
         Levinson, Smith & Huffman, P.C.
         1743 E. 71st Street                                                  o      Not listed. Explain

         Tulsa, OK 74136

4.11     Oakland Petroleum Operating
         1801 East 71st Street                                                Line   3.94
         Tulsa, OK 74136
                                                                              o      Not listed. Explain

4.12     Oakland Petroleum Operating
         c/o Evan M. McLemore                                                 Line   3.94
         Levinson, Smith & Huffman, P.C.
         1743 E. 71st Street                                                  o      Not listed. Explain

         Tulsa, OK 74136

4.13     Office of Natural Resources Revenue
         6525 N. Meridian Avenue                                              Line   3.36
         Suite 270
         Oklahoma City, OK 73116                                              o      Not listed. Explain


4.14     Parwest Land Exploration, Inc.
         c/o C. Robert Stell                                                  Line   3.102
         252 NW 70th Street
         Oklahoma City, OK 73116                                              o      Not listed. Explain


4.15     Patti Lynn Bryant
         c/o Scott Kevin Thomas                                               Line   3.103
         P.O. Box 1118
         123 West 7th Avenue, Suite 200                                       o      Not listed. Explain

         Stillwater, OK 74076

4.16     Pitney Bowes
         c/o McCarthy, Burgess & Wolff                                        Line   3.110
         26000 Cannon Road
         Cleveland, OH 44146                                                  o      Not listed. Explain


4.17     Waukesha-Pearce Industries, LLC
         c/o Jon D. Totz                                                      Line   3.135
         Totz Ellison & Totz, P.C.
         2211 Norfolk, Suite 510                                              o      Not listed. Explain

         Houston, TX 77098


Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 24 of 25
                               Case: 22-12088               Doc: 56       Filed: 10/12/22                 Page: 52 of 58

Debtor      Keystone Gas Corporation                                                    Case number (if known)         22-12088-SAH
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.18      Waukesha-Pearce Industries, LLC
          c/o Bernardo J. Garcia                                                       Line      3.135
          2040 N. Loop West
          Suite 308                                                                    o      Not listed. Explain

          Houston, TX 77018

4.19      Yarhola Production Company
          c/o Evan M. McLemore                                                         Line      3.138
          Levinson, Smith & Huffman, P.C.
          1743 E. 71st Street                                                          o      Not listed. Explain

          Tulsa, OK 74136


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                               5a.        $                    281,209.91
5b. Total claims from Part 2                                                               5b.    +   $                    360,939.33
5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.        $                      642,149.24




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 25
                               Case: 22-12088               Doc: 56          Filed: 10/12/22             Page: 53 of 58

Fill in this information to identify the case:

Debtor name        Keystone Gas Corporation

United States Bankruptcy Court for the:      WESTERN DISTRICT OF OKLAHOMA

Case number (if known)      22-12088-SAH
                                                                                                                              o Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       o No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      n Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Compressor Site
             lease is for and the nature of       Rentals
             the debtor's interest

                State the term remaining
                                                                                    Brandon & Regina Brunker
             List the contract number of any                                        7222 S. Fairgrounds Road
                   government contract                                              Stillwater, OK 74074


2.2.         State what the contract or           Lease
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Cathy Baker
             List the contract number of any                                        1004 W. Boston PLC
                   government contract                                              Broken Arrow, OK 74012


2.3.         State what the contract or           Lease
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Clyde Matheson Jr. and
                                                                                    Nancy C. Matheson Trust
             List the contract number of any                                        2208 South Council Creek Road
                   government contract                                              Stillwater, OK 74074


2.4.         State what the contract or           Lease No. 106339
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Commissioners of the Land Office
                                                                                    State of Oklahoma
             List the contract number of any                                        204 North Robinson, Suite 900
                   government contract                                              Oklahoma City, OK 73102




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 4
                          Case: 22-12088             Doc: 56        Filed: 10/12/22          Page: 54 of 58
Debtor 1 Keystone Gas Corporation                                                Case number (if known)   22-12088-SAH
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        Lease - Dacon Surface
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Deborah Addison
          List the contract number of any                                5500 West Oasis Road
                government contract                                      Tucson, AZ 85742


2.6.      State what the contract or        Pipeline Capacity and
          lease is for and the nature of    Lease Agreement
          the debtor's interest

             State the term remaining
                                                                         Fort Cobb Fuel Authority, LLC
          List the contract number of any                                3186D Airway Avenue
                government contract                                      Costa Mesa, CA 92626


2.7.      State what the contract or        Compressor Site
          lease is for and the nature of    Rentals
          the debtor's interest

             State the term remaining
                                                                         Frank & Tonya Magness
          List the contract number of any                                7200 E. Deep Rock Road
                government contract                                      Cushing, OK 74023


2.8.      State what the contract or        Compressor Site
          lease is for and the nature of    Rentals
          the debtor's interest

             State the term remaining
                                                                         Jaye Wilson
          List the contract number of any                                3166 Old Hwy 52 South
                government contract                                      Pilot Mountain, NC 27041


2.9.      State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Jo Lynn Digranes
          List the contract number of any                                1223 Villas Creek Drive
                government contract                                      Edmond, OK 73003


2.10.     State what the contract or        Compressor Site
          lease is for and the nature of    Rentals
          the debtor's interest
                                                                         Jo Waters
             State the term remaining                                    P.O. Box 70
                                                                         Luther, OK 73054

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 4
                          Case: 22-12088             Doc: 56        Filed: 10/12/22          Page: 55 of 58
Debtor 1 Keystone Gas Corporation                                                Case number (if known)   22-12088-SAH
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.11.     State what the contract or        Compressor Site
          lease is for and the nature of    Rentals - Pawnee
          the debtor's interest             Booster

             State the term remaining
                                                                         Larry & Sheila Martin
          List the contract number of any                                46751 E. 42nd Road
                government contract                                      Pawnee, OK 74058


2.12.     State what the contract or        Compressor Site
          lease is for and the nature of    Rentals
          the debtor's interest

             State the term remaining
                                                                         Mark Lauderdale Enterprise
          List the contract number of any                                3215 E. Deep Rock Road
                government contract                                      Cushing, OK 74023


2.13.     State what the contract or        Compressor Site
          lease is for and the nature of    Rentals
          the debtor's interest

             State the term remaining
                                                                         Max Haken Glenco
          List the contract number of any                                9815 N. Bethel Road
                government contract                                      Glencoe, OK 74032


2.14.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Mike Lauderdale
          List the contract number of any                                3215 East Deeprock Road
                government contract                                      Cushing, OK 74023


2.15.     State what the contract or        Oil and Gas Leases in
          lease is for and the nature of    Avery, OK, Lincoln
          the debtor's interest             County

             State the term remaining

          List the contract number of any                                Oil and Gas Leases
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 4
                          Case: 22-12088             Doc: 56      Filed: 10/12/22            Page: 56 of 58
Debtor 1 Keystone Gas Corporation                                                Case number (if known)   22-12088-SAH
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.16.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Omega Rail Management, Inc.
          List the contract number of any                               4721 Trousdale Drive, Suite 206
                government contract                                     Nashville, TN 37220


2.17.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Shawn Franklin Henry
          List the contract number of any                               6908 Liberty Trails Blvd.
                government contract                                     Oklahoma City, OK 73135


2.18.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Tap Petroleum, Inc.
          List the contract number of any                               P.O. Box 54
                government contract                                     Cleveland, OK 74020


2.19.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Varene Martin
          List the contract number of any                               3936 Caminito Del Mar Cove
                government contract                                     San Diego, CA 92130




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 4
                            Case: 22-12088               Doc: 56         Filed: 10/12/22            Page: 57 of 58

Fill in this information to identify the case:

Debtor name      Keystone Gas Corporation

United States Bankruptcy Court for the:   WESTERN DISTRICT OF OKLAHOMA

Case number (if known)   22-12088-SAH
                                                                                                                          o Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

o No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
n Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Richard Allen               P.O. Box 711                                             Ally Bank                       nD       2.1
          Sellers, III                Drumright, OK 74030                                                                      o E/F
                                                                                                                               oG



   2.2    Richard Allen               P.O. Box 711                                             Ally Bank                       nD       2.2
          Sellers, III                Drumright, OK 74030                                                                      o E/F
                                                                                                                               oG



   2.3    Richard Allen               P.O. Box 711                                             Ally Bank                       nD       2.3
          Sellers, III                Drumright, OK 74030                                                                      o E/F
                                                                                                                               oG



   2.4    Richard Allen               P.O. Box 711                                             BankDirect Capital              nD       2.4
          Sellers, III                Drumright, OK 74030                                      Finance                         o E/F
                                                                                                                               oG



   2.5    Richard Allen               P.O. Box 711                                             Internal Revenue                nD       2.7
          Sellers, III                Drumright, OK 74030                                      Service                         o E/F
                                                                                                                               oG



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
                          Case: 22-12088            Doc: 56        Filed: 10/12/22          Page: 58 of 58

Debtor    Keystone Gas Corporation                                                Case number (if known)   22-12088-SAH


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Richard Allen            P.O. Box 711                                        Internal Revenue             nD      2.8
          Sellers, III             Drumright, OK 74030                                 Service                      o E/F
                                                                                                                    oG



  2.7     Richard Allen            P.O. Box 711                                        Internal Revenue             nD      2.9
          Sellers, III             Drumright, OK 74030                                 Service                      o E/F
                                                                                                                    oG



  2.8     Richard Allen            P.O. Box 711                                        Internal Revenue             nD      2.10
          Sellers, III             Drumright, OK 74030                                 Service                      o E/F
                                                                                                                    oG



  2.9     Richard Allen            P.O. Box 711                                        Oklahoma Tax                 nD      2.11
          Sellers, III             Drumright, OK 74030                                 Commission                   o E/F
                                                                                                                    oG



  2.10    Richard Allen            P.O. Box 711                                        RCB Bank                     nD      2.12
          Sellers, III             Drumright, OK 74030                                                              o E/F
                                                                                                                    oG




Official Form 206H                                              Schedule H: Your Codebtors                                   Page 2 of 2
